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 5   Attorney for CHRISTIAN ROBERSON,
     Defendant
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          ) No. CR.S-008-239-LKK
                                        )
12                  Plaintiff,          ) STIPULATION AND ORDER MODIFYING
                                        ) CONDITIONS OF PRETRIAL RELEASE
13        v.                            )
                                        )
14   CHRISTIAN ROBERSON,                )
                                        )
15                 Defendants.          )
                                        )
16                                      )
17
18        It is hereby stipulated and agreed by and between the parties
19   hereto, through their respective counsel, that the conditions of
20   pretrial release imposed by this Court as to defendant Christian
21   Roberson shall be modified as follows: the defendant shall attend
22   mental health counseling as directed by her Pretrial Services Officer.
23   All other conditions shall remain the same.        This modification was
24   requested by Pretrial Services and with the agreement of the defendant.
25
26   Dated: October 6, 2008                          /s/ Candace A. Fry
                                                  CANDACE A. FRY, Attorney for
27                                                CHRISTIAN ROBERSON, Defendant
28


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 1   Dated: October 6, 2008                        McGREGOR W. SCOTT
                                                   United States Attorney
 2
                                                     /s/ Candace A. Fry for
 3                                                 JILL THOMAS, Assistant United
                                                   States Attorney
 4
                                                   (Signed for Ms. Thomas with
 5                                                 her prior authorization)
 6
 7                                        O R D E R
 8
 9   IT IS SO ORDERED.
10   DATED: November 7, 2008.
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15   Ddad1/orders.criminal/roberson0239.stipord

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